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UNITED STAlES DIS’I RICT COURT
SQL THERN DISTRTC1 OF NEW YORK                                 DO(
                                                               DAI’
BRANDON KOMMLR. et aL.
             PlaintifF
                                                                  ORDER

                                                                   17CV 1724(VB)
FORD MOTOR COMPANY.
              Defendant.

        Under Rule 18 of the SDNY Rules for the Dix ision of Business Among District Judges, a
civil case shall be designated for assignment to White Plains if:

           i.    The claim arose in whole or in major part in the Counties of Dutchess, Orange.
                 Putnam, Rockland. Sullivan, or Westchester (the “Northern Counties”) and at
                 least one of the parties resides in the Northern Counties; or

          ii.    The claim arose in whole or in major part in the Northern Counties and none of
                 the parties resides in this District.

       A civil case gy also be designated for assignment to White Plains if:

         iii.    The claim arose outside this district and at least some of the parties reside in the
                 Northern Counties; or

         iv,     At least half of the parties reside in the Northern Counties.

       All other civil cases (other than cases assigned on a district-wide basis) shall be
designated for assignment to Manhattan.

        On the Civil Cover Sheet, plaintiff’s counsel certified that this case should be assigned to
White Plains under Rule 18. But it is not apparent from the face of the complaint that the case
meets the criteria for assignment to White Plains set forth in Rule 18. For example, plaintiff
alleges he resides outside the district and he purchased his vehicle outside the district.

        Accordingly. by March 16, 201 7. counsel for plaintiff is directed to submit a letter to the
Court either acknoxledging that this case should he transferred to Manhattan or explaining xhy
the Lasc ‘S prrpcrl desiLnatcd f r assignment t( h te Plains under Rulc 18.

I)ated. March 9 2016
        \h1te Plains, NY
                                                SO ORDERED’



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                                                I nited States District Judge
